         Case: 1:22-cv-04173 Document #: 1 Filed: 08/09/22 Page 1 of 14 PageID #:1




                                 UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

                                                            )   t'.22-cv44173
       Kag os ceus tvu s e'druu            r
                                                            )   luoge Edmond E..chang
                                                            )   tvtagistrate Judge Heather K' McShain
                                                      ,     )   RANDOM
                                                            )
                  Plaintiff(s),                             )
                                                            )
                                                            )    Case No.
                                                            )
  POBrT ,lperv N,Uraue"Q,                                   )

 GBqC€  GOtckL{a                                     ,
                                                            )
                                                            )
                                                                               RECEIVED
 fl HorUY C, (V4PS                                          )
                                                            )
                                                                                      AU0 o s   20224)L
 Htc ue   L-LJP;tSoant(s)'                                  )
                                                   rHoM4s^Gj-B^BUIoN
 K N fr rrrdiouc                                 CLERK, u.s. DtsTRlcr couRT
lLtrp)ts 5TAT€ bfmAf,'te-uT OV i1g'r+t7$CnAf P4O r'AtftLY S{eu'rct-S
              COMPLAINT FOR VIOLATION OF CONSTITUTIONAL RIGHTS

  Thisform complaint is designed to help you, as a pro se plointffi state yoar case in a clear
 manner. Please read the directions and the numbered paragraphs carefully, Some paragraphs
 moy not apply to you. You may cross out paragraphs that do not apply to you. All references
 to uplaintiff' and "defendant" are stated in the singular but will apply to more than one
 plaintiff or defendant if that is the nature of the case,

  1.     This is a claim for violation of plaintiff s civil rights as protected by the Constitution and

          laws of the United States under 42 U.S.C. $$ 1983, 1985, and 1986.

  2.     The court has jurisdiction under 28 U.S.C. $$ 1343 and 1367      .



  3.      Plaintiff   s   full name   is       ?QOoE cCCs rVctS ;fdt r-tk

  If there are additional plaintffi,fill in the above information as to thefirst-named plaintiff
  and complete the information for each additional plaintiff on on extra sheet.
      Case: 1:22-cv-04173 Document #: 1 Filed: 08/09/22 Page 2 of 14 PageID #:2




4.     Defendant,,l   t;   C,   S   g   y n S U Hg'p ROprE'ur;U, PrT:^W'!.''"'"t,                                         r,


       El an officer or    official employed av Ca OC,u t                   f Co,.tef Otr Ogo( (bo^rv7
                                                                       (department or agency of   government)
                                                                                                                          or

       fl   an individual not employed by a governmental entity.

Ifthere are additional defendants, jill in the above information as to theJirst-named
defendant and complete the information for each additional defendant on an extra sheet.

5.     The municipality, township or county under whose authority defendant officer or official

       acted   is b 92 (bo*tTY                                                               .   As to plaintiffls federal

       constitutional claims, the municipality, township or county is a defendant only                         if
       custom or policy allegations are made at paragraph 7 below.

6.     On or ubout     ZD|T -           2022          , at approximately           h,r,'nt.?      L''a€ n a.m. tr p.m.
                           (month,day, year)
      plaintiff was present in the municipality (or unincorporated area) of C tR CU f                               r
       Cov(T                                                          , in the   county     or AOOr
       State of Illinois, at              ,LT /2                   3m                U'r     z,a
                                         (identify location   as   precisely as possible)


      when defendant violated plaintiff s civil rights as follows (Place X in each box that
      applies):

       n        arrested or seized plaintiff without probable cause to believe that plaintiff had
                committed, was comrnitting or was about to commit a crime;
      n         searched plaintiff or his property without a warrant and without reasonable cause;
      u         used excessive force upon plaintiff;
      D         failed to intervene to protect plaintiff from violation of plaintiff s civil rights by
                one or more other defendants;
      tr        failed to provide plaintiff with needed medical care;
      tr        conspired together to violate one or more of plaintiff s civil rights;
      EI                                       UurOlT
                                         s* cenJ lq tL I               I                               iJL:,            |-Uf
                unJe,r [/, 5. C.or^],'L/.O,
               CyCase:                     rT#: Cp,t't'T    or' uov     LoJJrl , 0#:3 rle stotMG
 2).     G BO      G SrCl/   LVA- Document
                       1:22-cv-04173
                                   ,CraZLu
                                                1 Filed: 08/09/22 Page 3 of 14 PageID

              DGE \'Orte sTt c RVcoT tot'rs 0 r{t
                                                        Sto P
         Jv
0 €/'mu/+tf


b)       TiN,O\HV       L   E,VAIS , o Fr:r L€ oF THE Cillt:t= JuoGt; I Lt ttCuir            cocttr
         OF Ogot(           coo ilTY

 0   rrr MoquT
L// Mr c uAeL 0 r^lc , EX€c\/rtvE                     TtL-rcTo'rt $ Q'auv LqL @NsrL      ,

                   STDTF or--tLslpets Jss16-teL             fpQoi,fy     rb1q&q
                                                                                    t

p gr:truge         v,


{)       llO+HE {lAOvV , Dl-t ooll€Y Gr,'tr/-+L ,O trFrce oF                       7lr
              Ofl O Lp E Y G€pe il-O t <74 ie o r rtLtoc) s
)rrrtto +/T

                       r5 D€lez-t nr vt     o   F aotiHcg     t€ 9M0 /:etv/Ly 5izltcts
e   l.   t   LLt U,e
         ( c t+t tg 5s p 2o li       s€/L(t ctr   )
0 vnruylPp             I
       Case: 1:22-cv-04173 Document #: 1 Filed: 08/09/22 Page 4 of 14 PageID #:4




7.      Defendant officer or official acted pursuant to a custom or policy of defendant

        municipality, county or township, which custom or policy is the following: (Leave blank

        d no custom or policy is alleged):




8.      Plaintiff was charged with one or more crimes, specifically:




9.      (Place an X in the box that applies. If none applies, you may describe the criminsl
        proceedings under "Other') The criminal proceedings

        n   are still pending.

        D   were terminated in favor of plaintiff in a manner indicating plaintiff was innocent.r

        E   Plaintiff was found guilty of one or more charges because defendant deprived me of               a


        fair trial as follows

                                                Lo                                                               '. n/.
                                           "4
           tro/loEt: -o e7vlrc(.ciaq r/E z.u/t3 ro-,7qtpta lp rqi'.
        ffi other:
(ptsTe+cr co*tctu!:."-f, Os {.q-,;Tropt Nerz,treAr rtpy /l lcr ?
                  UvCI'FZ I s* *uo tL4 tU Otlfrtgrq€^rf OuOt-4 U- S.
        lExamples                                                                                            C<>p-in TTliok
                    of termination in favor of the plaintiff in a manner indicating plaintiff was innocent
may include a judgment of not guilty, reversal of a conviction on direct appeal, expungement of the
conviction, a voluntary dismissal (SOL) by the prosecutor, or a nolle prosequi order.
              Case: 1:22-cv-04173 Document #: 1 Filed: 08/09/22 Page 5 of 14 PageID #:5




               10.     Plaintiff further alleges as follows: (Describe what happened that you believe
                supports your claims. To the extent possible, be speciJic as to your own actions and
               the actions of each defendant.)




        ll.    Defendant acted knowingly, intentionally, willfully and maliciously.

        12.    As a result of defendant's conduct, plaintiff was injured as follows:


                                                                                                          'ppgR
              waLtuav THtr @tvtz*cr             pflpo                                                     17
                                                                                                        Httr5z-24
0t o T/E/ UOt/o ptso                                                                   2f7)   t-lopt?L   2t6ut=
       Case: 1:22-cv-04173 Document #: 1 Filed: 08/09/22 Page 6 of 14 PageID #:6




 t4.    Plaintiff also claims violation of rights thatmay be protected by the laws of lllinois, such

        as false arrest, assault, battery, false imprisonment, malicious prosecution, conspiracy,

        and/or any other claim that may be supported by the allegations of this complaint.




        WHEREFORE, plaintiff asks for the following relief:

        A.      Damages to compensate for all bodily harm, emotional harm, pain and suffering,

                loss of income, loss of enjoyment of life, property damage and any other injuries

                inflicted by defendant;

        B.      $,    (Place X in box tf you are seeking punitive damages.) Punitive damages

                against the individual defendant; and

        C.      Such injunctive, declaratory, or other relief as may be appropriate, including

 attorney's fees and reasonable expenses as authorized by 42 U.S.C. $ 1988.

        Plaintiffssignature:          4su!rlsL.*: t\-r*ra-l*
        Plaintiff   s name   (print clearly or typ4:   FegcSLeA) MJSLfJuk
        Plaintiff s mailing address:     rE5? Wefi rJL PUF
        citv   D{s lLg/Urs                                State   lL              zrP 6i}.tC
        Plaintiff s telephone number:      (/3       366 q6+2
       Plaintiff    s email address   (if you prefer to be contacted by email):                          Grtdtc, cq,


15.    Plaintiff has previously filed a case in this district.   n   Yes   ffNo
       If yes, please list the cases   below.


Any additional plaintffi must sign the complaint and provide the same information       as the   Jirst
plaintffi An sdditional signature page may be added.
         Case: 1:22-cv-04173 Document #: 1 Filed: 08/09/22 Page 7 of 14 PageID #:7
           flf you need additional space for ANY section, please attach an additional sheet and reference that section.l




                                                                                   United States District Court
                                                                                   Northern District of lllinois
                     Plaintiff




                     Defendant

                                                    COMPLAINT

fu   T*r ,TFFroav             t.         g77nc/-+/0




           [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]
       Case: 1:22-cv-04173 Document #: 1 Filed: 08/09/22 Page 8 of 14 PageID #:8




RADOSLAW MUSIEJUK

                         Petitio   n   er\Plaintiff,                  UNITED STATES
                                                                     DISTRICT COURT
                -v-                                                 NORTHERN DISTRICT
                                                                       OF ILLINOIS
The Honorable Abbey Fishman Romanek, Judge
Circuit Court of Cook County
The Honorable Grace G. Dickler, Presiding Judge
Domestic Relations Division, Cook County Circuit
Court Illinois State
The Honorable Timothy C. Evans, Office of the Chief
Judge, Circuit Court of Cook County
Illinois Department of Healthcare and Family Services
(Child Support Service),
Michael Deno, Executive Director & General Counsel,
State ofIllinois Judicial Inquiry Board
Kwame Raoul, Attorney General, Office of The
Attorney General State of Illinois

                       Respondent\ Defendant




                                              AFFIDAVIT

  I, RADOSLAW MUSIEruK, OF DES PLAINES, IN COOK COUNTY, ILLINOIS                        WhO

  iS the   PETITIONER, BEING DULY SWORN STATE UNDER THE OATH THAT:

  l.   The one interpretation of the law is constitutional and the other is not, the

       constitutional interpretation must prevail. Support 1't and l4th Amendment under U.S.

       Constitution; Thownsend vs. State 427 S.W. 2d 55; Ableman vs. Booth 62 U.S. 506;

       Cooper vs. Aaron 358 U.S. (1958)

                                                   LofT
  Case: 1:22-cv-04173 Document #: 1 Filed: 08/09/22 Page 9 of 14 PageID #:9




2. The judgment        for dissolution of marriage with the agreement between RADOSLAW

   MUSIEJUK AND ANNA MUSIEJUK, have been signed and complied with in all

   respects of the Judge Abbey Romanek at May 17 2017 . Support             l't Amendment under

   U.S. Constitution;

3. Each parties release and relinquish to each other complete and irrevocable settlement

   and   full satisfaction and determination of all claims, rights, title, demand and interest

   of every kind, nature and description that each may have against the other, including

   all liabilities. Support I't Amendment under U.S. Constitution;

4. Each party has      voluntarily accepted the agreement contained in the JUDGMENT

   FOR DISSOLUTION OF MARRIAGE by signing with their own signature, as proof

   of which the parties hereby placed their hands and seal, all on the date and year of

   May 05 2017, the parties do hereby freely and voluntarily agree by and between

   themselves as follows:

        rrDrr
   A.           . The balance   of the loan shall be the responsibility of Ms. Musiejuk. She shall

   also pay all assessments and taxes on the property and hold Mr. Musiejuk harmless

   therefrom.

   B. "H". Each of the parties shall waive any and all claims to maintenance, one from

   the other.

   C. "O". Each of the parties shall be responsible for their own attorney fees in

   connection with this agreement and proceedings.

   D."P". The parties further understand that if approved by the court and incorporated

   into the Judgment of Dissolution prayed in said court, said agreement shall have the

   force of law, and each of the parties will be directed to carry forward the terms of this

                                                2of7
 Case: 1:22-cv-04173 Document #: 1 Filed: 08/09/22 Page 10 of 14 PageID #:10




   agreement and shall be required by the court to justify their compliance with this

   agreement, or punished as the court may direct for their failure to abide by the terms

   and conditions of said agreement.

   E. "D". The parties agree to share expenses EQUALLY and to review the needs of the

   children and the contribution of each to the expenses monthly. Mr. Musiejuk shall pay

   half of the ordinary expenses and reimburse the difference to Ms. Musiejuk monthly.

   Either par:ty may at any time seek to reduce the child support agreement to   a


   percentage monthly payment instead of the monthly computation system they are

   using.

Support L't Amendment under U.S. Constitution;


5. I object and conclude   a crime and fraud to violate the Petitioner   RADOSLAW

   MUSIEJUK the Civil and Constitutional Rights of a Citizen under the color of law,

   that:

  A.   Signed by Honorable Judge ABBEY FISHMAN ROMANEK, JUDGEMNT FoR

       DISSOLUTION OF MARRIAGE SIGNED AT MAY 17 2017, in all hearings

       after 2017, comrpt the ordinances contained in the Dissolution of Marriage

       agreement between RADOSLAW MUSIEJUK and ANNA MUSIEJUK. Support:

       act of contract in JUDGMENT FoR DISSOLUTION            oF MARRIAGE, May       17

       2017, PETITIONER RADOSLAW MUSIEJUK, RESPONDENT ANNA

       MUSIEJUK. Support: l't and l4th Amendment under U.S. Constitution




                                          3   of7
Case: 1:22-cv-04173 Document #: 1 Filed: 08/09/22 Page 11 of 14 PageID #:11




 B. During the hearings, Honorable Judge       ABBEY FISHMAN ROMANEK                       acts

    intentionally and knowingly to deprive the petitioner RADOSLAW MUSIEJUK of

    his constitutional rights and freedom of speech. Judge, exercises no discretion and

    individual judgment; Mrs. ABBEY FISHMAN ROMANEK acts no longer as a

    judge, but as a "minister" of his own prejudices. Support: Pierson v. Ray (1967), I't

    and l4th Amendment under U.S. Constitution

 C. As a Petitioner   I cannot talk, I scream to jurisdiction,   as   I have   no   jurisdiction in

    Cook County Circuit Court law. Support: Matter of Burns             v.   Burns (1967),I't and

    l4th Amendment under U.S. Constitution,        l5 U.S. code $ 1673,Marshall v. District

    Court for Forty-First-b Judicial District of Michigan,444 F. Supp. I l l0 (E.D.

    Mich. 1978)

 D. The Judge and the Cook County Circuit Court, take away my power of authority to

    my speech to my biological children and to convert it to someone else. Support:

    The lst Amendment U.S. CONSTITUTION

 E. As my children are my biological children, Judge Abbey Fishman Romanek, The

    Honorable Grace G. Dickler, The Honorable Timothy C. Evans, Michael Deno,

    State of Illinois Judicial Inquiry Board, Kwame Raoul, violated my civil and

    Constitutional rights, to get same rights to the children regardless of married or

    divorced. Support: The l't and l4th Amendment under u.s. CONSTITUTION

 F. The Honorable     Abbey Fishman Romanek, Judge Circuit Court of Cook County,

    The Honorable Grace G. Dickler, Presiding Judge Domestic Relations Division,


                                         4of7
Case: 1:22-cv-04173 Document #: 1 Filed: 08/09/22 Page 12 of 14 PageID #:12




    Cook County Circuit Court Illinois State, The Honorable Timothy C.Evans, Office

    of the Chief Judge, Circuit Court of Cook County, Illinois Department of

    Healthcare and Family Services (Child Support Service), Michael Deno, Executive

    Director & General Counsel, State of Illinois Judicial Inquiry Board, Kwame

    Raoul, Attorney General, Office of The Attorney General State of Illinois, violated

    Petitioner U.S. Civil and Constitutional rights, freedom of speech, lid to vexation,

    belligevent, litigant to protect his family relationship to:

    - spend same time as Respondent has

    - rear their children, including same rights Petitioner and Respondent to determine

    who shall educate and socialize them

    - rights in the care, custody, and control of their children

    - equally spend money of Petitioner and Respondent for their children

     Support: The   l't and   l4th Amendment U.S. CONSTITUTION, Stanley v. Illinois,

    405 U.S. 645 (1972); Pierce v. Society of Sisters,268 U.S. 510 (1925); 45 CFR

    302.6s

 G. The Honorable Abbey Fishman Romanek, Judge Circuit Court of Cook County,

    The Honorable Grace G. Dickler, Presiding Judge Domestic Relations Division,

    Cook County Circuit Court Illinois State, The Honorable Timothy C. Evans, Office

    of the Chief Judge, Circuit Court of Cook County, Illinois Department of

    Healthcare and Family Services (Child Support Service), Michael Deno, Executive

    Director & General Counsel, State of Illinois Judicial Inquiry Board, Kwame

    Raoul, Attorney General, Office of The Attorney General State of Illinois,

    violation Petitioner rights to be enslave, and equal protection of the laws.

                                         5   of7
Case: 1:22-cv-04173 Document #: 1 Filed: 08/09/22 Page 13 of 14 PageID #:13




      Support: The l4th Amendment under U.S. CONSTITUTION (ratified in 1868), l5

      U.S. code $ 1673; 45 CFR 302.65

 H. The Honorable Abbey Fishman Romanek, Judge Circuit Court of Cook County,

      The Honorable Grace G. Dickler, Presiding Judge Domestic Relations Division,

      Cook County Circuit Court Illinois State, The Honorable Timothy C. Evans, Office

      of the Chief Judge, Circuit Court of Cook County, Illinois Department of

      Healthcare and Family Services (Child Support Service), Michael Deno, Executive

      Director & General Counsel, State of Illinois Judicial Inquiry Board, Kwame

      Raoul, Attorney General, Office of The Attorney General State of Illinois, violate

      Petitioner rights and his children rights, to have same value of speech to each other

      as Respondent has. Support:   The lst Amendment under U.S. CONSTITUTION

 I.   The Honorable Abbey Fishman Romanek, Judge Circuit Court of Cook County,

      The Honorable Grace G. Dickler, Presiding Judge Domestic Relations Division,

      Cook County Circuit Court Illinois State, The Honorable Timothy C. Evans, Office

      of the chief Judge, circuit court of cook county, Illinois Department of

      Healthcare and Family Services (Child Support Service), Michael Deno, Executive

      Director & General Counsel, State of Illinois Judicial Inquiry Board, Kwame

      Raoul, Attorney General, Office of The Attorney General State of Illinois, without

      Respondent speech of authority, is stilling Respondent's own money from each pay

      check, that suppose to be used for him and his children living expenses. Support:

      The lst Amendment under u.s. CONSTITUTION,45 CFR 302.65; 15 U.S. code                g


      1673, Marshall v. District Court for Forty-First-b Judicial District of Michigan,444

      F. Supp. I I l0 (E.D. Mich. 1978)

                                          6   of7
      Case: 1:22-cv-04173 Document #: 1 Filed: 08/09/22 Page 14 of 14 PageID #:14




                                                      VERIFICATION

                              Petitioner\Plaintiff,

                   -v-                                                                  UNITED STATES
                                                                                        DISTRICT COURT
                                                                                           NORTHERN
 The Honorable Abbey Fishman Romanek, Judge Circuit
                                                                                          DISTRICT OF
 Court of Cook County                                                                         ILLINOIS
 The Honorable Grace G. Dickler, Presiding Judge
 Domestic Relations Division, Cook County Circuit Court
 Illinois State
 The Honorable Timothy C. Evans, Office of the Chief
 Judge, Circuit Court of Cook County
 Illinois Department of Healthcare and Family Services
 (Child Support Service),
 Michael Deno, Executive Director & General Counsel,
 State ofIllinois Judicial Inquiry Board
 Kwame Raoul, Attomey General, Office of The Attomey
 General State of Illinois

                             Respondent\ Defendant



          I,                   MUSIEruK-(         t Name) being duly sworn, deposed and says I submit the
information -RADOSLAW
             in the above-entitled proceedi    and that the foregoing information is true to his own knowledge, except
as to matters herein stated to be alleged   information and belief and as to those matters he believes it to be true.



  STATE OF ANY STATE, C nty of
  The foregoing instrumenl acknowledged before me
  This_day          of                        ,2022



                                             Notary Public

               ion Expires



                                                                    Ce/o+/                z,cz L
                                                        t   of   t ?"-- ;Le-               /7*'
                                                                                                  '"7L&
                                                                  (9 o.o   S   tA   U     Ho s     ,.;/,s    t^
